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   5   Attorneys for Plaintiff:
   6
       JAMES RUTHERFORD

   7                       UNITED STATES DISTRICT COURT
   8
                         CENTRAL DISTRICT OF CALIFORNIA
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  10
             JAMES RUTHERFORD,                     Case No.: 5:20-cv-01746-JGB-SP
  11

  12               Plaintiff,                      NOTICE OF SETTLEMENT

  13         vs.                                   Complaint Filed: August 28, 2020
  14                                               Trial Date: January 25, 2022
             VKND KENDALL LLC, a
  15         California limited liability
  16         company; and DOES 1-10,
             inclusive,
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                   Defendants.
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                                   NOTICE OF SETTLEMENT
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   1         Please take notice that Plaintiff, JAMES RUTHERFORD and Defendant,
   2   VKND KENDALL LLC, a California limited liability company, by and through
   3   their counsel of record, have reached a settlement and are presently drafting,
   4   finalizing, and executing the formal settlement documents. The appropriate
   5   motions and/or stipulation of dismissal will be promptly filed upon execution of a
   6   final settlement agreement.
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   8
                                CERTIFICATE OF SERVICE
   9
             I certify that on December 9, 2021, I electronically filed the foregoing
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       document with the Clerk of the Court using CM/ECF. I also certify that the
  11
       foregoing document is being served this day on counsel of record in this action via
  12
       email transmission and via transmission of Electronic Filing generated by
  13
       CM/ECF.
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  15
                                                     Respectfully submitted,
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       Dated: December 9, 2021                      MANNING LAW, APC
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  19
                                              By:   /s/ Joseph R. Manning, Jr. Esq.
  20                                                Joseph R. Manning, Jr., Esq.
                                                    Attorney for Plaintiff
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                                                     James Rutherford
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                                     NOTICE OF SETTLEMENT
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